                       Case 24-21209-LMI      Doc 164      Filed 01/07/25     Page 1 of 1
Form CGFCRD3C (01/14/23)

                               United States Bankruptcy Court
                                      Southern District of Florida
                                       www.flsb.uscourts.gov
                                                                                   Case Number: 24−21209−LMI
                                                                                   Chapter: 11

In re:
 ShiftPixy, Inc.
 4101 NW 25 Street
 Miami, FL 33142
 EIN: 47−4211438


                                         NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Laurel M Isicoff to consider the
following:

Expedited Application to Employ Sichenzia Ross Ference Carmel, LLP as Special Counsel to the
Debtors [Affidavit Attached] Filed by Debtor ShiftPixy, Inc. (Hayes, Monique) (160)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:           January 8, 2025
     Time:           02:30 PM
     Location:       C. Clyde Atkins U.S. Courthouse, 301 N Miami Avenue, Courtroom 8, Miami, FL
                     33128

2.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

3.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

4.   PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
     Electronic devices, including but not limited to cameras, cellular phones (including those with
     cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios,
     tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court.
     These restrictions (except for cameras not integrated into a cell phone device) do not apply to
     attorneys with a valid Florida Bar identification card, attorneys who have been authorized to appear by
     pro hac vice order and witnesses subpoenaed to appear in a specific case. No one is permitted to
     bring a camera or other prohibited electronic device into a federal courthouse facility except with a
     written order signed by a judge and verified by the United States Marshals Service. See Local Rule
     5072−2.

Dated: 1/7/25                                           CLERK OF COURT
                                                        By: Noemi Sanabria
                                                        Courtroom Deputy
